
15 Cal.App.2d 511 (1936)
EARL McCLINTOCK, Respondent,
v.
LOUIS ROBINSON, Appellant.
Civ. No. 1638. 
California Court of Appeals. Fourth Appellate District.  
July 16, 1936.
 Forgy, Reinhaus &amp; Forgy for Appellant.
 L. E. Dadmun for Respondent.
 Turrentine, J., pro tem.
 [1] Respondent filed his motion to dismiss the appeal on the ground that the appellant had not filed his opening brief within the time provided by law. Subsequent to the filing of the motion, but before the hearing thereof, appellant had served and filed his opening brief.
 On the authority of Graybiel v. Consolidated Associations, Ltd., 14 Cal.App.2d 547 [58 PaCal.2d 665], the motion is denied.
 Barnard, P. J., and Marks, J., concurred.
